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                                                                          FILI
                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA                          APR 2 0 2017
                                  MISSOULA DIVISION                      Clerk, US District Court
                                                                           District Of Montana
                                                                                Missoula

UNITED STATES OF AMERICA,
                                                      CR-17-12-M-DLC

                     Plaintiff,
                                                       FINDINGS AND
                                                    RECOMMENDATION
        vs.
                                                    CONCERNING PLEA

NATHAN ALAN SWENSON,

                     Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of conspiracy to commit wire

fraud in violation of 18 U.S.C. § 1349 (Count 1) and one count of aggravated

identity theft in violation of 18 U.S.C. § 1028A(a)(l) (Count 12), as set forth in

the Indictment. In exchange for Defendant's plea, the United States has agreed to

dismiss Counts 2,3,4, 5, 6, 7, 11, 13, 15, 16, 17, and 21 of the Indictment.

      After examining the Defendant under oath, I have made the following

determinations:


      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,



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